
719 S.E.2d 38 (2011)
STATE of North Carolina
v.
Nicholas Jermaine STEELE.
No. 405P11.
Supreme Court of North Carolina.
December 8, 2011.
Duncan B. McCormick, Lillington, for Steele, Nicholas Jermaine.
Latoya B. Powell, Assistant Attorney General, for State of N.C.
William D. Kenerly, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 20th of September 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of December 2011."
